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 1   JILBERT TAHMAZIAN, ESQ. NO. 143574
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 3
     Telephone No. (818) 242-8201
 4   Facsimile No. (818) 242-8246
 5   Attorneys for Defendant
     MANUK SHUBARALYAN
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 7
 8                                UNITED STATES DISTRICT COURT
 9                       FOR THE EASTERN DISTRICT OF CALIFORNIA
10
     UNITED STATES OF AMERICA,                       )       Case No. CR 05-00343 (FCD)
11                                                   )
                    Plaintiff,                       )       STIPULATION AND ORDER RE
12                                                   )       CONTINUANCE OF STATUS
                                                     )       CONFERENCE DATE
13                                                   )
                                                     )
14          v.                                       )       Status Conference
                                                     )       Date:               July 17, 2006
15                                                   )       Time:               9:30 A.M.
                                                     )       Judge:              Hon. Judge Frank D.
16                                                   )                           Damrell Jr.
     YURIK SHAKHBAZYAN, MANUK                       )
17   SHUBARALYAN, ROZA GASPARIAN,                    )
                                                     )
18                  Defendants.                      )
                                                     )
19
20
            TO THE UNITED STATES ATTORNEY, AND TO THE U.S. DISTRICT COURT:
21
            Defendant, MANUK SHUBARALYAN, by and through his attorneys of record, the Law
22
     Offices of Jilbert Tahmazian; defendant YURIK SHAKHBAZYAN, by and through his attorneys
23
     Minassian & Bagndaian; defendant ROZA GASPARIAN, by and through her attorneys of record
24
     Law Offices of Mark J. Werksman, and Plaintiff, United States of America, through its attorney
25
     of record, Stephen Lapham from the United States Attorney’s Office for the Eastern District of
26
     California, hereby agree, stipulate and request that the Court to continue the status conference
27
     date in this matter from July 17, 2006, at 9:30 a.m., to any date convenient to the Court in the
28

                                                         1
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 1   second week of September, 2006. The Parties further stipulate that:
 2          1.      The Speedy Trial Act of 1974, 18 U.S.C. §3161 et seq., originally required that
 3                  the status conference for this matter commence on or before July 17, 2006.
 4          2.      For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. §3161
 5                  et seq., within which the status conference must commence, the time period of
 6                  July 17, 2006 to September 17, 2006, inclusive, is deemed excludable pursuant to
 7                  18 U.S.C. §3161(h)(1)(D) [Local Code C].
 8          3.      Pursuant to 18 U.S.C. §3161(h)(1)(F), any delay that results from any pretrial
 9                  motion, from the time of the filing of this stipulation is automatically excludable
10                  from the Speedy Trial Act time limitations.
11          IT IS SO STIPULATED.
12   Dated: July 10, 2006                           LAW OFFICES OF JILBERT TAHMAZIAN
13
14
                                              By:     /s/ Jilbert Tahmazian
15                                                  Jilbert Tahmazian, Esq.
                                                    Attorney for Defendant,
16                                                  MANUK SHUBARALYAN
17   Dated: July 10, 2006                           MINASSIAN & BAGNDAIAN
18
19                                            By:     /s/ Fred G. Minassian
                                                    Fred G. Minassian, Esq.
20                                                  Attorney for Defendant
                                                    YURIK SHAKHBAZYAN
21
     Dated: July 10, 2006                           LAW OFFICES OF MARK J. WERKSMAN
22
23
                                              By:     /s/ Mark J. Werksman
24                                                  Mark J. Werksman, Esq.
                                                    Attorney for Defendant
25                                                  ROZA GASPARIAN
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27
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 1
     Dated: July 10, 2006
 2
 3                                          By:     /s/ Steven Lapham
                                                  Steven Lapham, Esq.
 4                                                Assistant United States Attorney
                                                  Attorneys for Plaintiff
 5                                                United States of America
 6
                                                  ORDER
 7
 8          The status conference date in this matter is continued to Monday, September 25, 2006 at
 9   9:30 a.m. For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. §3161 et
10   seq., within which the status conference must commence, the time period of July 17, 2006 to
11   September 25, 2006, inclusive, is deemed excludable pursuant to 18 U.S.C. §3161(h)(1)(D)
12   [Local Code C].
13
            IT IS SO ORDERED
14
     DATED: July 12, 2006
15
                                                  /s/ Frank C. Damrell Jr.
16                                                Hon. Judge Frank D. Damrell
                                                  United States District Court Judge
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